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12

13
                                    UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
      JAMAL RASHID TRULOVE,                            Case No. 16-cv-00050-YGR
16
             Plaintiff,                                DECLARATION OF CARLA LEE IN
17                                                     SUPPORT OF DEFENDANTS’ MOTION FOR
             vs.                                       SUMMARY JUDGMENT
18
      THE CITY AND COUNTY OF SAN                       Hearing Date:           February 27, 2018
19    FRANCISCO, ET AL.,                               Time:                   2:00 p.m.
                                                       Place:                  Courtroom 1, 4th Floor
20           Defendants.                                                       1301 Clay Street
                                                                               Oakland, CA
21
                                                       Trial Date:             March 5, 2018
22

23

24
            I, Carla Lee, declare as follows:
25
        1. I am currently a Sergeant with the San Francisco Police Department. In 2007 I was an officer
26
            assigned to the Ingleside Station. I have personal knowledge of the facts contained herein,
27

28
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 1         except for those facts stated on information and belief, and as to those facts I believe them to

 2         be true.

 3     2. In July, 2007, I had dark hair. It was not blonde.

 4     3. The information that I put out over the radio describing the suspect and the car came directly

 5         from Priscilla Lualemaga.

 6     4. On the night of the murder of Seu Kuka, I had no knowledge of the Trulove family. I never

 7         asked Lualemaga anything about anyone named Trulove, and did not ask her to look at

 8         anything on a clipboard, or see anyone who did.

 9     5. I never walked through Ingleside station with Michael Johnson on the night of the murder. I

10         did not observe Insp. Johnson walk through the station with the witness. I was not even aware

11         that evening of who the assigned homicide inspectors were.

12     6. I’ve reviewed the computer aided dispatch audio recordings from the night of the murder,

13         listened to the audio, and confirmed when I am speaking, when Shawn Phillips is speaking,

14         and identified some other officer voices. Those records show the following:

15            a. At 11:03 p.m., I put out on the radio the following description I received from Ms.

16                Lualemaga about the person who shot Kuka: “It’s going to be a BMA in his thirties,

17                he’s wearing a black hooded sweatshirt, black jeans, possibly drove away in a light blue

18                four-door American style car. The car is distinctive in that is has shiny chrome rims and

19                the tires are way too large for the vehicle. No last known direction.”

20            b. At 11:18 p.m., Ms. Lualemaga and I were in Officer Phillip’s patrol car at Brookdale

21                and Santos, and were intending to bring Ms. Lualemaga to Ingleside Station.

22            c. At 11:20 p.m., just as we started our trip to the station, Ms. Lualemaga pointed out the

23                car that the suspect had driven away in as a passenger with a driver, at Sunnydale and

24                Santos. I asked for units to try to find the car, which I said was a “light blue four door

25                vehicle.” Ms. Lualemaga and I got out of the car so that Officer Phillips could try to

26                find the car. Officer Robin Odum reported the car near Valesco St. Ms. Lualemaga

27                confirmed that she had seen the car before, and that it did not have tinted windows.

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 1            d. Other officers immediately began talking about other light blue cars they knew in the

 2               area. Shawn Phillips suggested that dispatch notify Daly City, in case an officer there

 3               knew of a similar car. None of the officers mentioned the name Trulove or Bradley.

 4            e. At 11:26 p.m., I put out over the air the description I received from Ms. Lualemaga:

 5               “Yeah, be advised the driver for the suspect is wearing a black sweatshirt with a white

 6               tee-shirt hanging out, black jeans. Another one that he’s always with he’s also a BMA,

 7               six-two, skinny, with red hair and it’s short. Both of them have short . . . “

 8            f. Just after that, at 11:28 p.m., Officer Phillips returned to Santos and Brookdale, and me,

 9               Ms. Lualemaga and Officer Phillips began our drive to Ingleside Station in his car.

10            g. At 11:31 p.m., while I was in the car with Ms. Lualemaga and Shawn Phillips, Officer

11               Phillips put out over the radio that the car was a two-door car.

12            h. At 11:38 p.m., Shawn Phillips and I arrived at Ingleside Station with Ms. Lualemaga.

13            i. At 11:40 p.m., Shawn Phillips responded to a request from supervisor about witnesses to

14               the homicide, and over the air Phillips said “we had a good witness” but wanted to keep

15               that quiet.

16             j. At 12:22 a.m., I radioed to find out where my partner, Officer Rovano, was located. He

17                said that he was still at the homicide scene, and I said I would go meet him.

18             k. At 12:30 p.m., I was near Folsom Street, still looking for the car driven by the suspect.

19                We did not have a name of a suspect, we were still trying to locate the suspect through

20                the car.

21             l. I did not go back to the station and speak to the witness after I left to meet Officer

22                Ravano.

23     7. In July 2007, I was a uniformed officer. The homicide inspectors did not supervise me.

24         Rather, I reported to the station Sergeant, Lieutenant and/or Captain.

25     8. Even if I was present when a plain clothes officer attempted to have the eyewitness identify a

26         particular individual as the shooter of Seu Kuka on the night of the murder, I would have

27         assumed that he would report and document that interaction. As a uniformed officer

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